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                                                                         1                                 PROOF OF SERVICE
                                                                         2                                   Nersoyan v. COLA
                                                                                                            Case No. CV19-08109
                                                                         3

                                                                         4               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                         5         I am employed in the County of Los Angeles, State of California. I am over
                                                                         6   the age of 18 and not a party to the within action. My business address is 21515
                                                                             Hawthorne Blvd., Suite 800, Torrance, California 90503.
                                                                         7

                                                                         8          On October 26, 2020 I served the following document described as:
                                                                             DECLARATION OF LT. DOUGLAS KIMURA IN SUPPORT OF
                                                                         9   DEFENDANT COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY
                                                                        10   JUDGMENT
                                                                             on all interested parties in this action by placing [X] a true copy [ ] the original
                                                                        11   thereof enclosed in sealed envelopes addressed as follows:
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                            Counsel for Plaintiff
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13                               Michael S. Devereux, Esq.
                                                                                              WEX LAW A PROFESSIONAL LAW CORPORATION
                                                                        14                           1880 Century Park East, Suite 1101
                                                                        15                                Los Angeles, CA 90067
                                                                                                            Tel: 213-986-9844
                                                                        16                                  Fax: 213-342-6190
                                                                                                          Email: mike@wex.law
                                                                        17

                                                                        18          [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        19         [X] I am readily familiar with the firm’s practice for collection and
                                                                             processing correspondence for mailing. Under that practice, this document will be
                                                                        20
                                                                             deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                        21   prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                             on motion of the party served, service is presumed invalid if postal cancellation
                                                                        22
                                                                             date or postage meter date is more than one day after date of deposit for mailing in
                                                                        23   affidavit.
                                                                        24          [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                        25   of the bar of this Court at whose discretion the service was made.
                                                                        26         Executed on October 26, 2020 at Torrance, California.
                                                                        27
                                                                                                                    /s/ Marianne M. Guillinta
                                                                        28                                          Marianne Guillinta
                                                                             ______________________________________________________________________________
                                                                                                                     -1-
                                                                                                     DECLARATION OF LT. DOUGLAS KIMURA
